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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

MONROE COUNTY EMPLOYEES’
RETIREMENT SYSTEM,
Individually and on Behalf of All
Others Similarly Situated and
ROOFERS LOCAL 149 PENSION                 CIVIL ACTION No.
FUND,                                     1:17-cv-241-WMR

     Plaintiffs,

v.

THE SOUTHERN COMPANY, et al.,

     Defendants.


                       DECLARATION OF JOHN P. JETT

       In accordance with 28 U.S.C. § 1746, I, John P. Jett, declare under

penalty of perjury that the following statements are true and correct:

       1.    My name is John P. Jett. I am over the age of 21 and competent

to provide the testimony in this declaration.

       2.    I am an attorney, a member of the Georgia Bar, and a partner

with Kilpatrick Townsend & Stockton LLP.

       3.    I have no relationship to the parties, counsel, action, or the Court

that would require disqualification of a judge under 28 U.S.C. § 455. I will
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immediately notify the Court if I become aware of any potential ground that

would require disqualification.

      Executed this 6th day of August, 2020 in Atlanta, Georgia.



                        /s/ John P. Jett
                        John P. Jett




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          LOCAL RULE 7.1 CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document filed with the Clerk of

Court has been prepared in 13 point Century Schoolbook font, in accordance

with Local Rule 5.1(C).

      Dated:       August 6, 2020.



                        CERTIFICATE OF SERVICE

      I hereby certify that, on August 6, 2020, I filed a copy of the foregoing

document with the Clerk of Court using the CM/ECF system, which will

automatically send notice of the filing to all counsel of record.

                            /s/ John P. Jett
                            John P. Jett
                            Georgia Bar No. 827033

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                            Court Appointed Special Master




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